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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
In Re: ADA Cases                                            Case No: 6:18-mc-14-Orl-31DCI



                             REPORT AND RECOMMENDATION
       This cause comes before the Court for consideration following oral argument on the written

responses to the undersigned’s May 1, 2018 Order to Show Cause. Doc. 4 (the Order to Show

Cause).

I.     Introduction

       This case concerns several attorneys’ repeated failure to comply with the Federal Rules of

Civil Procedure, the Local Rules, and the Court’s orders. The matter was referred to the

undersigned for the issuance of a report recommending what, if any, actions should be taken

against the attorneys for their noncompliance. As a result, the undersigned entered an Order to

Show Cause directing each attorney to show cause why the Court should not take adverse action

against them based on their history of noncompliance. After reviewing the attorneys’ responses

to the Order Show Cause, the undersigned held show cause hearings for each attorney.

       Upon review of the attorneys’ written and oral responses to the Order to Show Cause, the

undersigned identified three areas of concern: 1) the repeated failure to comply with the Federal

Rules of Civil Procedure, the Local Rules, and the Court’s orders; 2) the filing of deficient

pleadings and substantive motions; and 3) the use of ADA experts. As for the first area of concern,

the undersigned recommends the following actions be taken: four of the attorneys at issue be

admonished and subject to temporary oversight to ensure compliance; six of the attorneys at issue

be subject to temporary oversight to ensure compliance; and no further action be taken as to six of
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the attorneys at issue. The undersigned recommends that no action be taken against the attorneys

for the issues related to the second and third areas of concern.

II.    Background

       On February 20, 2018, United States District Judge Roy B. Dalton, Jr. entered an order

directing the initiation of these proceedings concerning the conduct of the law firm of Thomas B.

Bacon, P.A. and certain of its attorneys and co-counsel in litigation in this Division involving the

Americans with Disabilities Act (ADA). Doc. 1. According to the order, Senior United States

District Judge Gregory A. Presnell was designated to preside over these proceedings, and the

matter was referred to the undersigned for issuance of an appropriate show cause order and

recommendation to the Court. Id. In two subsequent orders, Judge Presnell identified eleven

additional attorneys litigating ADA cases in this Division who are the subject of these proceedings.

Docs. 2; 3.

       In each of those orders, the district judges explained that counsel “have filed numerous

ADA cases in this court over the past few years. In its attempt to efficiently deal with these cases,

the Court has been using a streamlined case management procedure with which the Court expects

strict compliance. Notwithstanding this admonition, [counsel] routinely fail to comply with the

Court’s orders.” Docs. 1; 2; 3. Thus, those orders made clear that these proceedings were focused

on the conduct of the attorneys who routinely file ADA cases in this Division, and not on the merit

of the claims asserted in those ADA cases. Id.

       As it stands, this matter involves attorneys Thomas B. Bacon, Philip M. Cullen, III, Aaron

Finesilver, Christine N. Failey, Barry S. Mittelberg, Ayesa Conger, Eric Matthew Rodriguez,

Joshua Howard Sheskin, Mario Elias Lopez, Rafael Viego, III, Nadine A. Brown, Andrew C.




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Enfield, William T. Leveille, II, Michael Christine, Anthony J. Perez, and Alfredo Miguel Garcia-

Menocal. Id.

       On May 1, 2018, the undersigned entered an Order to Show Cause, in which the

undersigned outlined the Court’s concerns with the attorneys’ collective history of negative orders.

Doc. 4 (the Order to Show Cause). Specifically, the Order to Show Cause and the exhibit thereto

identified numerous negative orders stemming from the attorneys’ repeated failure to comply with

the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders, as well as orders

directed to consistently deficient pleadings and motions. Id. In light of these negative orders, the

undersigned directed each attorney to show cause in writing: 1) why the attorney repeatedly failed

to comply with the Court’s rules and orders; 2) what sanctions can or should be imposed as a result

of those failures; 3) why the attorney should not be banned from filing additional ADA cases

before this Court; and 4) what steps can and will be taken to ensure future compliance with the

Court’s rules and orders. Id. at 5.

       The attorneys filed timely written responses to the Order to Show Cause. Docs. 5; 6; 9;

10; 11; 12; 13; 14; 15; 16; 17; 18; 19; 20; 21; 22. In their responses, the attorneys addressed: 1)

the negative orders they assert should not be considered in these proceedings; 2) the negative

orders they assert are not attributable to them; 3) the negative orders they concede are attributable

to them; 4) the measures they have taken to avoid negative orders in the future; and 5) why

sanctions should not be imposed. Id. In addition to addressing the issues raised in the Order to

Show Cause, Mr. Sheskin’s response raised an issue that was not previously apparent from the

negative orders giving rise to these proceedings, namely the alleged improper reliance on ADA

experts by his former law firm, Federal Legal Advocates, LLC (FLA). Doc. 19 at 5, 8, 13-14.




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       Upon review of the written responses, it became clear that there were three law firms at the

center of these proceedings: FLA; Thomas B. Bacon, P.A.; and Garcia-Menocal & Perez, P.L.

Thus, the undersigned scheduled separate show cause hearings for the attorneys associated with

the foregoing law firms.

       On August 14, 2018, the undersigned held the first show cause hearing, which involved

attorneys who worked for FLA. Docs. 34; 36. Specifically, the attorneys who appeared at this

hearing were Mr. Lopez, Ms. Conger, Mr. Viego, Mr. Christine, Mr. Sheskin, Mr. Leveille, and

Mr. Rodriguez.

       That same day, the undersigned held the second show cause hearing, which involved

attorneys who worked for or in association with Thomas B. Bacon, P.A.              Docs. 35; 37.

Specifically, the attorneys who appeared at this hearing were Mr. Cullen, Mr. Finesilver, Ms.

Failey, Ms. Brown, and Mr. Enfield.1 The undersigned heard from Mr. Bacon on a later date.

Docs. 32; 40; 41.

       On August 15, 2018, the undersigned held the third show cause hearing, which involved

attorneys who worked for Garcia-Menocal & Perez, P.L. Docs. 38; 39. Specifically, the attorneys

who appeared at this hearing were Messrs. Garcia-Menocal and Perez.

       At the hearings, the attorneys provided much of the same arguments and explanations

contained in their written responses. In addition, the undersigned asked each attorney several

questions about the negative orders discussed in the Order to Show Cause, how they use experts

in ADA cases, and the measures they have taken to avoid the issues giving rise to these

proceedings.




1
  Based on Mr. Mittelberg’s response (Doc. 6) to the Order to Show Case, the undersigned found
it unnecessary to require Mr. Mittelberg to appear at the show cause hearing.
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III.   The Court’s Authority to Conduct These Proceedings

       The Court draws its authority to conduct these proceedings from two distinct sources.

       First, it is axiomatic that “lawyers are officers of the court and that the courts have the

inherent authority to regulate their professional conduct.” In re Gopman, 531 F.2d 262, 266 (5th

Cir. 1976).2 Specifically, the Eleventh Circuit has explained that:

       Courts possess the inherent power to protect the orderly administration of justice
       and to preserve the dignity of the tribunal. The inherent power of a court to manage
       its affairs necessarily includes the authority to impose reasonable and appropriate
       sanctions upon errant lawyers practicing before it. A trial court possesses the
       inherent power to discipline counsel for misconduct, short of behavior giving rise
       to disbarment or criminal censure, without resort to the powers of civil or criminal
       contempt.

Kleiner v. First National Bank, 751 F.2d 1193, 1209 (11th Cir. 1985) (internal citations and

quotation marks omitted); see Wouters v. Martin Cty., Fla., 9 F.3d 924, 933 (11th Cir. 1993)

(“district courts have broad powers under the rules to impose sanctions for a party’s failure to abide

by court orders. . .”). “The key to unlocking a court’s inherent power is a finding of bad faith.”

Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998). “When considering sanctions under the

court’s inherent power, the threshold of bad faith conduct is at least as high as the threshold of bad

faith conduct for sanctions under [28 U.S.C.] § 1927.” Peer v. Lewis, 606 F.3d 1306, 1316 (11th

Cir. 2010) (internal quotation marks omitted).

       Second, the Court has authority to conduct these proceedings pursuant to its Local Rules,

which state, in relevant part, that “[a]ny member of the bar of this Court, admitted generally under

Rule 2.01 or specially under Rule 2.02, may, after hearing and for good cause shown, be disbarred,




2
  The Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
handed down prior to the close of business on September 30, 1981. Bonner v. City of Prichard,
661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).


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suspended, reprimanded or subjected to such other discipline as the Court may deem proper.”

Local Rule. 2.04(a).

        In light of the foregoing, the undersigned finds that the Court has the authority to conduct

these proceedings and may take reasonable and appropriate actions against the attorneys involved

in these proceedings to ensure the orderly administration of justice and to preserve the dignity of

the tribunal, both under the Court’s inherent authority and pursuant to its Local Rules.3 Ultimately,

though, the undersigned’s recommendations, which include the impositions of sanctions against

some of the attorneys at issue, are predicated on the Court’s authority under Local Rule 2.04(a).

IV.     Discussion

        After reviewing the negative orders giving rise to these proceedings and considering the

written and oral responses to the Order to Show Cause, the undersigned has identified three issues

that merit discussion: 1) the repeated failure to comply with the Federal Rules of Civil Procedure,

the Local Rules, and the Court’s orders; 2) the filing of consistently deficient pleadings and

substantive motions; and 3) the use of ADA experts. The undersigned will address each issue in

turn.




3
  The undersigned notes that Mr. Cullen was the only attorney who challenged the Court’s
authority to conduct these proceedings. Mr. Cullen, however, did not raise this challenge in his
written response to the Order to Show Cause. See Doc. 15. Instead, Mr. Cullen waited until the
show cause hearing to challenge the Court’s authority to conduct these proceedings. Specifically,
Mr. Cullen argued that the Court did not have jurisdiction to conduct these proceedings because
other courts in this Division had already resolved the negative orders giving rise to these
proceedings. First, the undersigned finds that Mr. Cullen waived this argument by not raising it in
his written response to the Order to Show Cause. Second, to the extent Mr. Cullen did not waive
the argument, the undersigned finds it to be without merit. As discussed above, the Court has both
the inherent authority and the authority through its Local Rules to conduct proceedings, such as
these, to regulate and, if warranted, sanction the attorneys who appear before the Court. See Local
Rule 2.04(a); Kleiner, 751 F.2d at 1209; In re Gopman, 531 F.2d at 266. Indeed, Mr. Cullen has
cited no binding or persuasive authority to the contrary. Therefore, the undersigned finds Mr.
Cullen’s argument meritless.
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          A. The Failure to Comply with the Federal Rules of Civil Procedure, the Local Rules,
             and the Court’s Orders

          The primary issue giving rise to these proceedings was the attorneys’ collective history of

not complying with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

See Docs. 1; 2; 3. This remains the primary issue in these proceedings, and, as discussed below,

the undersigned finds that additional actions should be taken as to many of the attorneys to ensure

that they will comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s

orders.

          While many of the attorneys have challenged the precise number of negative orders

attributable to them due to the failure to comply with the Federal Rules of Civil Procedure, the

Local Rules, and the Court’s orders, there is no dispute that each attorney subject to this action has

failed to comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders

on one or more occasions. Indeed, in response to the Order to Show Cause, the attorneys either

expressly or implicitly conceded this fact.

          The attorneys provided several explanations for their noncompliance, including, but not

limited to, their workload (i.e., the filing of an excessive number of cases), insufficient staffing,

and insufficient systems in place to track deadlines. While many of the explanations account for

the failure to follow deadlines, they offer little, if any, justification for the failure to comply with

the Federal Rules of Civil Procedure or the Local Rules, with which the Court expects strict

compliance. In any event, there is no question that the issues allegedly giving rise to the

noncompliance are squarely within each attorney’s control, and, consequently, there is little excuse

for the ongoing compliance issues that gave rise to these proceedings.

          In response to these proceedings, the attorneys have reportedly taken various measures to

ensure compliance with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s

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orders. These measures include, but are not limited to, reviewing the applicable rules, reducing

case load, hiring additional attorneys and support staff, and implementing new systems to ensure

all deadlines are met. In theory, these measures should ensure compliance with the Federal Rules

of Civil Procedure, the Local Rules, and the Court’s orders. Indeed, since the inception of these

proceedings, there has been a noticeable decline in the number of negative orders entered due to

noncompliance. This decline not only demonstrates the necessity of these proceedings, but also

demonstrates that the attorneys are capable of compliance. That said, it remains unclear whether

the attorneys will continue to follow through with the measures they have implemented (especially

once these proceedings are closed) and, to the extent they do, how effective those measures will

be in bringing about consistent compliance with the Federal Rules of Civil Procedure, the Local

Rules, and the Court’s orders. Therefore, as discussed below, the undersigned finds that additional

actions should be taken as to many of the attorneys to ensure that they will comply with the Federal

Rules of Civil Procedure, the Local Rules, and the Court’s orders.

       1. Mr. Bacon

       The undersigned finds that Mr. Bacon should be admonished and subject to temporary

court oversight for four principal reasons.

       First, Mr. Bacon repeatedly failed to comply with the Federal Rules of Civil Procedure, the

Local Rules, and the Court’s orders. Indeed, Mr. Bacon conceded this fact. Doc. 21-1.

       Second, Mr. Bacon served as a supervising attorney and, as such, was (and remains)

responsible for ensuring that the attorneys he supervised complied with the Federal Rules of Civil

Procedure, the Local Rules, and the Court’s orders. Mr. Bacon fell short in meeting this

responsibility, and, as a result, the attorneys he supervised repeatedly failed to comply with the




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Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders on numerous occasions.

Again, Mr. Bacon conceded this fact. See id.

       Third, it appears that Mr. Bacon intends to continue litigating cases and supervising

attorneys who litigate cases in this Division, and, thus, the possibility for further compliance issues

remains. See Doc. 21 at 32.

       Fourth, despite the measures Mr. Bacon has reportedly taken to ensure compliance, he has

nevertheless had a negative order entered against him since the Order to Show Cause was entered.

Kennedy v. Milan Properties, Inc., Case No. 6:18-cv-427-Orl-22DCI, Doc. 23 (M.D. Fla. July 18,

2018) (order to show cause against plaintiff for failing to timely file answers to the Court’s

interrogatories). Thus, it is not clear whether the measures Mr. Bacon (and Thomas P. Bacon,

P.A.) has put in place to ensure compliance will, in fact, achieve that goal.

       For these reasons, the undersigned finds that there is good cause for Mr. Bacon to be

admonished to comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s

orders and be subject to temporary court oversight (discussed in detail below) to ensure that he

and the attorneys he supervises comply with the Federal Rules of Civil Procedure, the Local Rules,

and the Court’s orders.

       2. Mr. Lopez

       The undersigned finds that Mr. Lopez should be admonished and subject to temporary

court oversight for four principal reasons.

       First, Mr. Lopez repeatedly failed to comply with the Federal Rules of Civil Procedure, the

Local Rules, and the Court’s orders.

       Second, Mr. Lopez served as a supervising attorney at FLA and, as such, was (and remains)

responsible for ensuring that the attorneys he supervised complied with the Federal Rules of Civil



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 Procedure, the Local Rules, and the Court’s orders.          Mr. Lopez fell short in meeting this

 responsibility, and, as a result, the attorneys he supervised repeatedly failed to comply with the

 Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders on numerous occasions.

 Indeed, Mr. Lopez conceded this fact. Doc. 42 at 36.

         Third, it appears that Mr. Lopez intends to continue litigating cases and supervising

 attorneys who litigate cases in this Division, and, thus, the possibility for further compliance issues

 remains. See Doc. 11 at 6.

         Fourth, despite the measures Mr. Lopez has reportedly taken to ensure compliance, he has

 had multiple negative orders entered against him and those he supervises since the Order to Show

 Cause was entered. Longhini v. Rayan and Assocs., Inc., Case No. 6:17-cv-1016-Orl-37GJK, Doc.

 40 (M.D. Fla. Oct. 29, 2018) (order to show cause why the case should not be dismissed for failure

 to prosecute); Longhini v. Avenue Shoppes, LLC, Case No. 6:16-cv-1444-Orl-40GJK, Doc. 54

 (M.D. Fla. Oct. 23, 2018) (order to show cause why motion to dismiss should not be granted as

 unopposed due to plaintiff’s failure to file a timely response to the motion to dismiss); Longhini v.

 Congo River Golf & Exploration, Co., Case No. 6:17-cv-1445-Orl-31KRS, Doc. 40 (M.D. Fla.

 July 10, 2018) (order dismissing case for parties’ failure to comply with the case management and

 scheduling order); Longhini v. Gala Enters. Of Central Florida, Inc., Case No. 6:17-cv-1444-Orl-

 37KRS, Doc. 53 (M.D. Fla. July 5, 2018) (order to show cause why the case should not be

 dismissed for failure to prosecute). Considering the number of negative orders entered against Mr.

 Lopez since the Order to Show Cause was entered, the undersigned is skeptical that the measures

 Mr. Lopez (and FLA) has reportedly put in place to ensure compliance will, in fact, achieve that

 goal.




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        For these reasons, the undersigned finds that there is good cause for Mr. Lopez to be

 admonished to comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s

 orders and be subject to temporary court oversight (discussed in detail below) to ensure that he

 and the attorneys he supervises comply with the Federal Rules of Civil Procedure, the Local Rules,

 and the Court’s orders.

        3. Messrs. Garcia-Menocal and Perez

        The undersigned finds that Messrs. Garcia-Menocal and Perez should be admonished and

 subject to temporary court oversight for four principal reasons.

        First, Messrs. Garcia-Menocal and Perez repeatedly failed to comply with the Federal

 Rules of Civil Procedure, the Local Rules, and the Court’s orders. Indeed, Messrs. Garcia-

 Menocal and Perez conceded this fact. Docs. 13 at 3; 14 at 2.

        Second, Messrs. Garcia-Menocal and Perez are principals at Garcia-Menocal & Perez, P.L

 and, thus, have total control over filing and litigating cases (including ADA cases) in this Division.

 Yet, despite the number of negative orders filed against them for noncompliance, they seemingly

 took little, if any, action to ensure compliance because they continued to fail to comply with the

 Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

        Third, it appears that Messrs. Garcia-Menocal and Perez intend to continue litigating cases

 in this Division, and, thus, the possibility for further compliance issues remains. See Docs. 13 at

 12; 14 at 3-4.

        Fourth, despite the measures Messrs. Garcia-Menocal and Perez have reportedly taken to

 ensure compliance, they have had multiple negative orders entered against them since the Order

 to Show Cause was entered. Brito v. O P realty Partners, LLC, Case No. 6:17-cv-2160-Orl-

 22TBS, Doc. 25 (M.D. Fla. Oct. 18, 2018) (order dismissing case for lack of prosecution);



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 Longhini v. The Cypress Pointe Resort at Lake Buena Vista Condominium Assoc., Inc., Case No.

 6:18-cv-1010-Orl-22TBS, Doc. 17 (M.D. Fla. Oct. 11, 2018) (order denying motion for failure to

 comply with Local Rule 3.01(g)); Longhini v. Big Lots Stores, Inc., Case No. 6:17-cv-2129-Orl-

 22TBS, Doc. 21 (M.D. Fla. July 24, 2018) (order to show cause against plaintiff for failing to file

 a notice informing the Court about the outcome of mediation); Brito v. 4018 W. Vine Street LLLP,

 Case No. 6:18-cv-177-Orl-41TBS, Doc. 21 (M.D. Fla. May 30, 2018) (order striking notice of

 voluntary dismissal for failure to comply with Federal Rule of Civil Procedure 41(a)(1)(A));

 Longhini v. Lakeside Operating Partnership, L.P., Case No. 6:17-cv-1651-Orl-31GJK, Doc. 15

 (M.D. Fla. May 23, 2018) (order to show cause why the case should not be dismissed for not timely

 moving for default judgment). Considering the number of negative orders entered against Messrs.

 Garcia-Menocal and Perez since the Order to Show Cause was entered, the undersigned is skeptical

 that the measures they have reportedly put in place to ensure compliance will, in fact, achieve that

 goal.

         For these reasons, the undersigned finds that there is good cause for Messrs. Garcia-

 Menocal and Perez to be admonished to comply with the Federal Rules of Civil Procedure, the

 Local Rules, and the Court’s orders and be subject to temporary court oversight (discussed in detail

 below) to ensure that they comply with the Federal Rules of Civil Procedure, the Local Rules, and

 the Court’s orders.

         4. Ms. Failey

         The undersigned finds that Ms. Failey should be subject to temporary court oversight for

 three principal reasons.




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         First, Ms. Failey failed to comply with the Federal Rules of Civil Procedure, the Local

 Rules, and the Court’s orders on multiple occasions. Indeed, Ms. Failey conceded this fact. Doc.

 9 at 6-9.

         Second, it appears that Ms. Failey intends to continue litigating cases in this Division, and,

 thus, the possibility for further compliance issues remains. See Doc. 9 at 11.

         Third, despite the measures Ms. Failey has reportedly taken to ensure compliance, she has

 nevertheless had a negative order entered against her since the Order to Show Cause was entered.

 Kennedy v. Milan Properties, Inc., Case No. 6:18-cv-427-Orl-22DCI, Doc. 23 (M.D. Fla. July 18,

 2018) (order to show cause against plaintiff for failing to timely file answers to the Court’s

 interrogatories). Thus, it is not clear whether the measures Ms. Failey has put in place to ensure

 compliance will, in fact, achieve that goal.

         For these reasons, the undersigned finds that there is good cause for Ms. Failey to be subject

 to temporary court oversight (discussed in detail below) to ensure that she complies with the

 Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

         5. Mr. Leveille

         The undersigned finds that Mr. Leveille should be subject to temporary court oversight for

 three principal reasons.

         First, Mr. Leveille became a member of the bar of this Court in December 2017. Doc. 20

 at 1. Within a relatively short period of time after being admitted to the bar of this Court, Mr.

 Leveille had an instance of noncompliance,4 for which he has taken responsibility. Id.




 4
  An order to show cause was entered against Mr. Leveille approximately four months after he
 became a member of the bar of this Court. Longhini v. Orlando CC Hotel, LP, Case No. 6:17-cv-
 1057-Orl-37RBD, Doc. 38 (M.D. Fla. Mar. 30, 2018) (order to show cause why case should not
 be dismissed due to plaintiff’s failure to comply with the court’s orders and to prosecute the case).
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         Second, it appears that Mr. Leveille intends to continue litigating cases in this Division,

 and, thus, the possibility for further compliance issues remains. See Doc. 20 at 3-4.

         Third, despite the measures Mr. Leveille have reportedly taken to ensure compliance, he

 has had two negative orders entered against him since the Order to Show Cause was entered.

 Longhini v. Avenue Shoppes, LLC, Case No. 6:16-cv-1444-Orl-40GJK, Doc. 54 (M.D. Fla. Oct.

 23, 2018) (order to show cause why motion to dismiss should not be granted as unopposed due to

 plaintiff’s failure to file a timely response to the motion to dismiss); Longhini v. Congo River Golf

 & Exploration, Co., Case No. 6:17-cv-1445-Orl-31KRS, Doc. 40 (M.D. Fla. July 10, 2018) (order

 dismissing case for parties’ failure to comply with the case management and scheduling order).

 Thus, it is not clear whether the measures Mr. Leveille has put in place to ensure compliance will,

 in fact, achieve that goal.

         For these reasons, the undersigned finds that there is good cause for Mr. Leveille to be

 subject to temporary court oversight (discussed in detail below) to ensure that he complies with

 the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

         6. Mr. Christine

         The undersigned finds that Mr. Christine should be subject to temporary court oversight

 for two principal reasons.

         First, it appears that Mr. Christine intends to continue litigating cases in this Division, and,

 thus, the possibility for compliance issues, which, as discussed below, have occurred since the

 Order to Show Cause was entered, remains. See Doc. 12 at 2-3.

         Second, while Mr. Christine has demonstrated that he was not subject to any negative

 orders for noncompliance prior to the Order to Show Cause, see Doc. 12, he has had two negative

 orders for noncompliance entered against him since the Order to Show Cause was entered.



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 Longhini v. Rayan and Assocs., Inc., Case No. 6:17-cv-1016-Orl-37GJK, Doc. 40 (M.D. Fla. Oct.

 29, 2018) (order to show cause why the case should not be dismissed for failure to prosecute);

 Longhini v. Gala Enters. Of Central Florida, Inc., Case No. 6:17-cv-1444-Orl-37KRS, Doc. 53

 (M.D. Fla. July 5, 2018) (order to show cause why the case should not be dismissed for failure to

 prosecute). Thus, since the Order to Show Cause was entered, Mr. Christine has had issues

 complying with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

 Therefore, it is not clear whether the measures Mr. Christine has put in place to ensure compliance

 will, in fact, achieve that goal.

         For these reasons, the undersigned finds that there is good cause for Mr. Christine to be

 subject to temporary court oversight (discussed in detail below) to ensure that he complies with

 the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

         7. Messrs. Cullen, Sheskin, and Viego

         The undersigned finds that Messrs. Cullen, Sheskin, and Viego should be subject to

 temporary court oversight for two principal reasons.

          First, Messrs. Cullen, Sheskin,5 and Viego repeatedly failed to comply with the Federal

 Rules of Civil Procedure, the Local Rules, and the Court’s orders.

         Second, it appears that Messrs. Cullen and Sheskin intend to continue litigating cases in

 this Division, and, thus, the possibility for further compliance issues remains. See Docs. 15 at 8;

 19 at 19-20. That said, Messrs. Cullen and Sheskin have not been the subject of any negative




 5
   In August 2017, Mr. Sheskin left FLA, and he subsequently became employed at a law firm
 where he, in relevant part, defends against ADA and FLSA actions. Doc. 19 at 19. Thus, while
 Mr. Sheskin will apparently no longer be filing ADA actions, he is currently, and will more than
 likely continue, to practice before this Court. Bartley v. Lights N More Installations, LLC., Case
 No. 6:18-cv-775-Orl-40KRS (M.D. Fla.) (pending FLSA action).


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 orders since the Order to Show Cause was entered.6 While it appears that the measures Messrs.

 Cullen and Sheskin have taken to ensure compliance are having the desired effect, the undersigned

 has serious concerns whether that compliance will continue given their history of negative orders.

        As for Mr. Viego, he currently is not counsel of record in any cases pending in this

 Division. Further, Mr. Viego left FLA and now works for a law firm that, according to Mr. Viego,

 does not take on a large volume of federal cases. Doc. 5 at 10. Nevertheless, it appears that Mr.

 Viego may continue litigating cases in this Division in the near future. See id. That said, Mr.

 Viego has not been the subject of any negative orders since the Order to Show Cause was entered.

 While it appears that the measures Mr. Viego has taken to ensure compliance are having the desired

 effect, the undersigned has serious concerns whether that compliance will continue given his

 history of negative orders and the absence of pending cases in this Division.

         For these reasons, the undersigned finds that there is good cause for Messrs. Cullen,

 Sheskin, and Viego to be subject to temporary court oversight (discussed in detail below) to ensure

 that they continue to comply with the Federal Rules of Civil Procedure, the Local Rules, and the

 Court’s orders.




 6
   The undersigned notes that while Mr. Sheskin left FLA in August 2017, he still appears as
 attorney of record in several cases in which negative orders were entered following the Order to
 Show Cause. Longhini v. Rayan and Assocs., Inc., Case No. 6:17-cv-1016-Orl-37GJK, Doc. 40
 (M.D. Fla. Oct. 29, 2018); Longhini v. Avenue Shoppes, LLC, Case No. 6:16-cv-1444-Orl-40GJK,
 Doc. 54 (M.D. Fla. Oct. 23, 2018); Longhini v. Congo River Golf & Exploration, Co., Case No.
 6:17-cv-1445-Orl-31KRS, Doc. 40 (M.D. Fla. July 10, 2018); Longhini v. Gala Enters. Of Central
 Florida, Inc., Case No. 6:17-cv-1444-Orl-37KRS, Doc. 53 (M.D. Fla. July 5, 2018). There are no
 filings signed by Mr. Sheskin in those cases that post-date August 2017. See id. Thus, it appears
 that Mr. Sheskin simply failed to move to withdraw from the foregoing cases, two of which remain
 open (6:16-cv-1444 and 6:17-cv-1016). Therefore, the undersigned has not counted the negative
 orders in the foregoing cases against Mr. Sheskin. That said, Mr. Sheskin should take immediate
 action to withdraw from the cases that remain open.


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        8. Mr. Mittelberg and Ms. Brown

        The undersigned finds that the Order to Show Cause should be discharged, and no further

 action should be taken against Mr. Mittelberg and Ms. Brown for two principle reasons.

        First, while the Court takes each instance of noncompliance seriously, Mr. Mittelberg and

 Ms. Brown have had a relatively limited number of negative orders entered against them for failing

 to comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders.

        Second, it appears that Mr. Mittelberg and Ms. Brown intend to continue litigating cases

 in this Division. See Doc. 10 at 4; Ortiz v. Mastercorp, Inc., Case No. 6:17-cv-2004-Orl-28GJK

 (M.D. Fla.) (a pending employment discrimination case in which Mr. Mittelberg represents the

 plaintiff). Thus, there is a possibility for further compliance issues. That said, Mr. Mittelberg and

 Ms. Brown have not been the subject of any negative orders since the Order to Show Cause was

 entered. Considering the limited number of negative orders entered against Mr. Mittelberg and

 Ms. Brown and the absence of additional negative orders since the Order to Show Cause was

 entered, it appears that the measures they have taken to ensure compliance have and will continue

 to ensure that the issues that caused the limited number of past negative orders will not reoccur.

        For these reasons, the undersigned finds that the Order to Show Cause should be

 discharged, and no further action should be taken against Mr. Mittelberg and Ms. Brown.

        9. Ms. Conger and Messrs. Finesilver, Rodriguez, and Enfield

        The undersigned finds that the Order to Show Cause should be discharged, and no further

 action should be taken against Ms. Conger and Messrs. Finesilver, Rodriguez, and Enfield for two

 principle reasons.

        First, while Ms. Conger and Messrs. Finesilver, Rodriguez, and Enfield failed to comply

 with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders on several



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 occasions, they have not been the subject of any negative orders since the Order to Show Cause

 was entered.7

        Second, Ms. Conger and Messrs. Finesilver, Rodriguez, and Enfield have either ceased

 practicing law or are unlikely to practice law before this Court. Specifically, Ms. Conger has

 ceased practicing law due to a progressive disability and has no plans to return to the practice of

 law. Doc. 16 at 6. As for Messrs. Finesilver, Rodriguez, and Enfield, they left the law firms at

 the center of these proceedings and now work for law firms that focus on state court litigation.

 Docs. 17 at 10-11; 18 at 3; 22 at 8-9. Thus, it appears unlikely that the Court will have further

 issues with Ms. Conger and Messrs. Finesilver, Rodriguez, and Enfield within the time

 contemplated by the temporary oversight recommended in this Report.

        For these reasons, the undersigned finds that the Order to Show Cause should be

 discharged, and no further action should be taken against Ms. Conger and Messrs. Finesilver,

 Rodriguez, and Enfield.




 7
   Ms. Conger stated that she ceased working for FLA in January 2018. Doc. 16 at 1. Further, Ms.
 Conger stated that she has ceased practicing law due to a progressive disability. Id. at 6. The
 undersigned, however, notes that Ms. Conger still appears as attorney of record in several cases in
 which negative orders were entered following the Order to Show Cause. Longhini v. Avenue
 Shoppes, LLC, Case No. 6:16-cv-1444-Orl-40GJK, Doc. 54 (M.D. Fla.); Longhini v. Rayan and
 Assocs., Inc., Case No. 6:17-cv-1016-Orl-37GJK, Doc. 40 (M.D. Fla.); Gala Enters. Of Central
 Florida, Inc., Case No. 6:17-cv-1444-Orl-37KRS, Doc. 53 (M.D. Fla.); Longhini v. Congo River
 Golf & Exploration, Co., Case No. 6:17-cv-1445-Orl-31KRS, Doc. 40 (M.D. Fla.). There are no
 filings in the foregoing cases from Ms. Conger that post-date January 2018. See id. Thus, it
 appears that Ms. Conger simply failed to move to withdraw from the foregoing cases, two of which
 remain open (6:16-cv-1444 and 6:17-cv-1016). Considering Ms. Conger’s written and oral
 response, the undersigned has no reason to doubt that Ms. Conger has left FLA and has ceased
 practicing law. Thus, the undersigned has not counted the negative orders in 6:16-cv-1444 and
 6:17-cv-1016 against Ms. Conger. That said, Ms. Conger should take immediate action to
 withdraw from the cases that remain open.


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        B. The Filing of Consistently Deficient Pleadings and Substantive Motions

        A review of the ADA cases filed by the attorneys in these proceedings revealed that a fair

 number of negative orders were entered due to deficient pleadings and briefing. Specifically, there

 were several common issues giving rise to these negative orders that did not relate to the

 substantive arguments in the case, including, but not limited to, the reliance on form pleadings

 despite previous orders criticizing such pleadings, the failure to cite contrary authority, and the

 failure to file memorandums of law in support of substantive motions, such as motions for default

 judgment. See, e.g., Longhini v. Sembler, Case No. 6:17-cv-2093-Orl-37TBS, Docs. 19; 27 (M.D.

 Fla.); Houston v. Fifo, Inc., Case No. 6:17-cv-1082-Orl-37DCI, Docs. 16; 18 (M.D. Fla.); Kennedy

 v. Taco City 3, Inc., Case No. 6:17-cv-634-Orl-40DCI, Docs. 16; 18 (M.D. Fla.). These issues

 were easily avoided through better pleadings and more thorough motions, yet the same issues

 continued to occur in subsequent ADA cases. Id. While the attorneys should make every effort

 to avoid the issues discussed above, the undersigned, as stated during the hearings, finds no basis

 to impose sanctions in these proceedings as a result of those issues as a part of this Report. That

 said, the attorneys should make every effort going forward to ensure that the issues plaguing their

 prior pleadings and substantive motions are not repeated, and the continued filing of deficient

 pleadings and motions may result in the imposition of sanctions.

        C. The Use of Experts

        The undersigned’s concern about the use of experts in ADA cases stems from Mr.

 Sheskin’s written response to the Order to Show Cause. In his response, Mr. Sheskin alleged that

 the experts the attorneys at FLA relied on “dictate[d] how cases would run, and even edit[ed]

 Counsel’s work before submission.”       Doc. 19 at 6.     Mr. Sheskin’s allegations caused the

 undersigned to ask each of the attorneys in these proceedings about their use of ADA experts. The



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 most concerning responses to these questions came from attorneys working for FLA. Specifically,

 as discussed during the hearing involving FLA’s current and former attorneys, the undersigned

 had serious concerns about the relationship between the clients and the experts, the attorneys’

 reliance on the experts (especially in the context of negotiating settlements), and whether there

 was any profit sharing amongst the attorneys at FLA and the experts. All these issues raise

 concerns about violations of the Rules Regulating the Florida Bar and, by extension, the Local

 Rules of this Court. But given the limited scope of these proceedings, the undersigned has made

 no findings with respect to those allegations and, consequently, finds no basis to impose sanctions

 at this time as a result of those allegations. That said, the attorneys involved in these proceedings,

 including those who have no past or present association with FLA, should ensure that they maintain

 a proper relationship with the experts they utilize in any case they bring in federal court.

 V.     Conclusion

        Accordingly, it is respectfully RECOMMENDED that:

        1. The Court ADMONISH Thomas B. Bacon, Alfredo Miguel Garcia-Menocal, Mario

            Elias Lopez, and Anthony J. Perez to follow the Federal Rules of Civil Procedure, the

            Local Rules, and the Court’s orders; and

        2. The Court hold this case open following its ruling on this Report so that the following

            may occur:

                a. For a period of 12 months following the Court’s ruling on this Report, Thomas

                    B. Bacon, Michael Christine, Philip M. Cullen, III, Christine N. Failey, Alfredo

                    Miguel Garcia-Menocal, William T. Leveille, II, Mario Elias Lopez, Anthony

                    J. Perez, Joshua Howard Sheskin, and Rafael Viego, III, be required to file a

                    notice in this case (In re ADA Cases, 6:18-mc-14) each time a judge in this



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                   Division enters an order against them or their client that does any of the

                   following based in whole or in part on a failure to comply with the Federal

                   Rules of Civil Procedure, the Local Rules, or an order of the court: requires

                   them or their client to show cause; strikes a filing; denies a motion; or dismisses

                   a complaint or any claim therein;

               b. Such notice shall be filed no later than 7 days after the entry of the order and

                   shall identify the case in which the order was entered and the docket entry of

                   the order; and

               c. At the conclusion of the 12-month period, the undersigned be directed to

                   conduct a review of the notices filed in this case and, based on the undersigned’s

                   review, enter a report and recommendation as to whether any further action

                   should be taken against Thomas B. Bacon, Michael Christine, Philip M. Cullen,

                   III, Christine N. Failey, Alfredo Miguel Garcia-Menocal, William T. Leveille,

                   II, Mario Elias Lopez, Anthony J. Perez, Joshua Howard Sheskin, and Rafael

                   Viego, III.

        3. The Order to Show Cause (Doc. 4) be DISCHARGED and no further action be taken

            against Barry Mittelberg, Nadine Brown, Ayesa Conger, Andrew C. Enfield, Aaron

            Finesilver, and Eric Matthew Rodriguez;

                                     NOTICE TO PARTIES

        A party has fourteen days from this date to file written objections to the Report and

 Recommendation’s factual findings and legal conclusions. A party’s failure to file written

 objections waives that party’s right to challenge on appeal any unobjected-to factual finding or




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 legal conclusion the district judge adopts from the Report and Recommendation. See 11th Cir. R.

 3-1.

        Recommended in Orlando, Florida on November 13, 2018.




 Copies furnished to:

 Presiding District Judge
 Counsel of Record
 Unrepresented Party
 Courtroom Deputy




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